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                                       UNITED STATES DISTRICT COURT
                                      CENTRAL DISTRICT OF CALIFORNIA
                                            CRIMINAL MINUTES - GENERAL



 Case No.          CR 14-499 PA                                                           Date     August 16, 2018


 Present: The Honorable        PERCY ANDERSON, U.S. DISTRICT JUDGE
 Interpreter       Mandarin: Billy Lee
                                                                                                 John Kucera
       Kamilla Sali-Suleyman                     Phyllis Preston                                 Vicki Chou
                Deputy Clerk              Court Reporter/Recorder, Tape                   Assistant U.S. Attorney


                U.S.A. v. Defendant(s):        Present Cust. Bond         Attorneys for Defendants:      Present App. Ret.

1) Xilin Chen                                    /            /      Victor Sherman                            /              /



 Proceedings:           SENTENCING (non-evidentiary)

       For the terms and conditions of the sentencing, refer to Judgment and
Probation/Commitment Order. The Court seals the transcript of the current proceedings along
with the transcript of the proceedings held on August 15, 2018.

By the end of day on August 20, 2018, defendant is ordered to contact United States Pretrial
Services to be begin participating in GPS location monitoring until his self surrender date on
September 25, 2018.

The Status Conference regarding Defendant Chuang Feng Chen that has been set for August 20,
2018 is vacated. Counsel are ordered to file a stipulation with a new proposed date.




                                                                                                          :        45
                                                               Initials of Deputy Clerk                KSS
cc: USMS, BOP, USPO, PSA




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